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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                       *
                                               *
                  vs.                          *
                                               *        Case No. 21-CR-00631-2 (TJK)
THERESE BORGERDING,                            *
         Defendant                             *
                                               *

                                            ooOoo

                                   NOTICE OF APPEAL

       Therese Borgerding, by her undersigned counsel, appointed under the Criminal Justice Act,

18 U.S.C. § 3006A, hereby appeals the final Judgment of conviction and sentence of imprisonment

entered by this Court on September 5, 2024 (ECF 146).

                                                    Respectfully submitted,

                                                    /s/ Carmen D. Hernandez
                                                    Carmen D. Hernandez
                                                    Bar No. MD 03366
                                                    7166 Mink Hollow Rd
                                                    Highland, MD 20777
                                                    240-472-3391; chernan7@aol.com


                               CERTIFICATE OF SERVICE

      I hereby certify that the instant notice was served on all counsel of record via ECF on
September 12, 2024.


                                                    /s/ Carmen D. Hernandez
                                                    Carmen D. Hernandez
